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  13
  14                      UNITED STATES DISTRICT COURT

  15                      CENTRAL DISTRICT OF CALIFORNIA

  16
  17 JANE DOE on behalf of herself and all       CASE NO. 8:21-CV-00338-CJC-ADS
     other similarly situated,
  18                                             Judicial Officer: Cormac J. Carney
                  Plaintiffs,                    Courtroom:        9B
  19
            v.
  20                                           REPLY MEMORANDUM OF
     MINDGEEK USA INCORPORATED,                POINTS IN SUPPORT OF
  21 MINDGEEK S.A.R.L., MG                     RENEWED MOTION FOR A
                                               PARTIAL STAY OF DISCOVERY
  22 FREESITES, LTD (D/B/A                     PENDING RESOLUTION OF
     PORNHUB), MG FREESITES II, LTD,           DISPOSITIVE MOTION UNDER
  23 MG CONTENT RT LIMITED, AND                FED. R. CIV. P. 12(B)(6)

  24 9219- 1568 QUEBEC, INC. (D/B/A            Hearing Date: September 13, 2021
     MINDGEEK),
  25
                  Defendants.
  26
  27
  28
                                                           CASE NO. 8:21-CV-00338-CJC-ADS
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   1 I.      INTRODUCTION
   2         A partial stay of discovery is justified in this action under California’s two-
   3 factor test because (1) Defendants’ Motion to Dismiss has the potential to dispose of
   4 the entire case and (2) no discovery is needed to decide it. Recent Ninth Circuit case
   5 law demonstrates Defendants’ Motion to Dismiss presents more than a mere
   6 possibility that all of Plaintiff’s claims will be dismissed. Indeed, another court in
   7 this same district has granted a motion for a stay of discovery in a case brought by the
   8 same Plaintiff alleging nearly identical facts and in a similar procedural posture, ruling
   9 that Section 230 of the Communications Decency Act likely immunizes Plaintiff’s
  10 claims.
  11         Despite this, nearly three quarters of Plaintiff’s Opposition is devoted to
  12 arguing why binding Ninth Circuit law regarding Section 230 should be disregarded.
  13 Although the Court need not resolve the merits of Defendants’ Motion to Dismiss for
  14 purposes of this motion, the facts and legal claims as pled in the First Amended
  15 Complaint (“FAC”) present more than a possibility that the Motion to Dismiss will
  16 dispose of the claims at issue here.
  17         Because Defendants have met their burden of establishing both factors
  18 necessary for a stay, Plaintiff attempts to rely on an alleged prejudice that would result
  19 to her if the partial stay is granted. Not only is that irrelevant to the question before
  20 the Court, Plaintiff has not demonstrated how she is prejudiced by this short and
  21 partial delay. In fact, Defendants have responded to all of Plaintiff’s previously
  22 served discovery requests and remain willing to negotiate a confidentiality order and
  23 electronically stored information (“ESI”) protocol and discuss appropriate search
  24 terms during the stay. Defendants have also met their burden to show good cause for
  25 a partial stay of discovery given the expansive requests at issue that will likely be
  26 made irrelevant once this Court considers Defendants’ Motion to Dismiss. As the
  27 Ninth Circuit has held in similar cases, “[i]t is sounder practice” to stay discovery
  28 pending resolution of these threshold issues. Rutman Wine Co. v. E & J. Gallo
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   1 Winery, 829 F.2d 729, 738 (9th Cir. 1987). Accordingly, a partial stay of discovery
   2 is appropriate here.
   3 II.     ARGUMENT
   4         A. Plaintiff ignores the applicable standard for evaluating a motion to
   5            stay discovery
   6         Aside from a single sentence in her Opposition, nowhere does Plaintiff discuss
   7 the standard adopted by California district courts for deciding whether to stay
   8 discovery pending a motion to dismiss. See Plaintiff’s Opposition to Defendant’s
   9 Motion for a Partial Stay of Discovery (Dkt. 55) at 22 (hereinafter “Opp.”). However,
  10 all of the cases Plaintiff relies on, Opp. at 5, apply the same two-prong test. See Malek
  11 v. Green, 2017 U.S. Dist. LEXIS 48305, at *3 (N.D. Cal. Mar. 30, 2017) (citations
  12 omitted); Seven Springs Ltd. P’ship v. Fox Capital Mgmt. Corp., 2007 WL 1146607,
  13 at *1-2 (E.D. Cal. Apr. 18, 2007); Singh v. Google, Inc., 2016 WL 10807598, at *1-2
  14 (N.D. Cal. Nov. 4, 2016); Smith v. Levine Leichtman Capital Partners, Inc., 2011 WL
  15 13153189, at *1 (N.D. Cal. Feb. 11, 2011).
  16         Plaintiff ignores the standard because it is clear both prongs are met in this case.
  17 Defendants have demonstrated both that (1) their Motion to Dismiss is “potentially
  18 dispositive of the entire case, or at least dispositive on the issue at which discovery is
  19 aimed,” and (2) their Motion to Dismiss “can be decided absent additional discovery.”
  20 Quezambra v. United Domestic Workers of Am. AFSCME Loc. 3930, No.
  21 819CV00927JLSJEM, 2019 WL 8108745, at *2 (C.D. Cal. Nov. 14, 2019) (citing
  22 Mlejnecky v. Olympus Imaging Am., Inc., No. 2:10-CV-02630, 2011 WL 489743, at
  23 *6 (E.D. Cal. Feb. 7, 2011) (collecting California district court cases applying this
  24 two-part test)).
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   1             B.     Defendants’ Motion To Dismiss is dispositive of the entire case
   2             Recent and binding Ninth Circuit case law demonstrate that Defendants’
   3 Motion to Dismiss is potentially dispositive.1 See Gonzalez v. Google LLC, 2 F.4th
   4 871, 891 (9th Cir. 2021) (stating “Section 230(c)(1) precludes liability for (1) a
   5 provider or user of an interactive computer service (2) whom a plaintiff seeks to treat
   6 as a publisher or speaker (3) of information provided by another information content
   7 provider.”) Judge James V. Selna so concluded in his recent order granting
   8 defendant’s motion to stay discovery in a case brought by the same Plaintiff and others
   9 alleging identical causes of action. Jane Doe, et al. v. Reddit, Inc., No. 8-21- cv-
  10 00768-JVS-KES, Order Regarding Motion to Stay Discovery, at *1, Dkt. 35 (C.D.
  11 Cal. July 12, 2021)(citing Gonzalez, stating “it is readily apparent that § 230
  12 immunizes Reddit from many of Plaintiffs’ claims.”).
  13      Despite the overwhelming legal and factual similarities between Defendants’
  14 arguments to partially stay discovery and those identified in Judge Selna’s Order,
  15 Plaintiff’s position is that Judge Selna’s order “does not counsel” for a stay in this
  16 case based only on Plaintiff’s unsupported characterization that the current motion
  17 relates to “different allegations and circumstances.” Opp. at 18. However, as
  18 Defendants demonstrated in their opening memorandum, the complaints in both
  19 actions plead the exact same allegations and causes of action. See Defendants’
  20 Renewed Motion for a Partial Stay of Discovery (Dkt. 48) at 8 (hereinafter “Mem”).
  21             Similarly, Plaintiff makes no effort to explain how Defendants’ platform being
  22 purportedly “different” than Reddit’s changes the legal analysis of Judge Selna’s
  23 order. Plaintiff cites zero authority for her assertion that deciding a motion to grant a
  24 stay should turn on “defendant’s misconduct.” Opp. at 19. The actual focus on a
  25
  26
       1
           Defendants have additional grounds for dismissal of this action aside from Section 230 that
  27 similarly compel the conclusion that Defendants’ Motion To Dismiss, Dkt. 45, is potentially
       dispositive of the entire case. These include, among others, that Plaintiff has failed to plead
  28 critical elements of her claims.

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   1 motion to stay is whether the pending motion to dismiss is potentially dispositive.
   2 Quezambra, at *2. The Reddit decision is as direct on point legal authority as there
   3 can be.
   4       Further, nowhere in Plaintiff’s opposition does she explain how “a preliminary
   5 analysis of the merits of the motion” demonstrates there is no “clear possibility” that
   6 Defendants’ motion will dispose of Plaintiff’s claims, Mireskandari v. Daily Mail &
   7 Gen. Tr. PLC, 2013 WL 12129944, at *2 (C.D. Cal. Jan. 14, 2013). This is not a case
   8 where Defendants have “merely argued ‘in a conclusory fashion the future success of
   9 its yet-to-be-filed motion to dismiss.’” Opp. at 24 (quoting In re Valence Tech.
  10 Securities Litig., 1994 WL 758688 (N.D. Cal. Nov. 18, 1994)). In fact, that Plaintiff
  11 takes issue, across twelve pages, with Ninth Circuit case law showing that
  12 Defendants’ Motion has the potential to dismiss Plaintiff’s claims demonstrates just
  13 the opposite. Opp. at 6-18.
  14
             C.     Defendants’ Motion can be decided without additional discovery
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             This is the second factor to be examined in deciding a motion to stay. It is not
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       simply an off the mark “argument” by Defendants to be swept aside as Plaintiff
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  18 suggests. Opp. at 7, n.3. Indeed, Plaintiff’s unsupported interpretation of this critical
  19 factor is that “any motion to dismiss theoretically ‘can’ be decided without discovery,
  20 one way or the other.” Id. If this requirement is merely “theoretical,” it would not
  21 be expressly identified and discussed in the cases Plaintiff herself cites as a part of the
  22 two-part test for deciding motions to stay. Further, Plaintiff’s Opposition on this
  23 element is wholly unresponsive to the fact that the immunity at issue here, Section
  24 230, should be decided “at the earliest possible stage of the case,” Chevrolet, Ltd. v.
  25 Consumeraffairs.com, Inc., 591 F.3d 250, 255–58 (4th Cir. 2009) and that the Ninth
  26 Circuit, in Gonzalez, has ruled that dismissal on the basis of Section 230 immunity is
  27 appropriate without any need for discovery where the “allegations in the complaint,
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   1 taken as true” fail to state a claim that would defeat that immunity. Gonzalez, 2 F.4th
   2 at 906.
   3         D.     Defendants will be harmed if discovery is not partially stayed
   4
             Plaintiff’s recitation of her document requests in her Opposition, Opp. at 19-
   5
       21, only demonstrates that they would subject Defendants to the unreasonable burdens
   6
       and costs that Section 230 immunity was expressly designed to avoid. See Mem at 8.
   7
       In fact, of Plaintiff’s 31 Requests for Production and four Interrogatories, not a single
   8
       one asks for any discovery related to the content depicting Plaintiff or the account
   9
       holder who uploaded that content. Defendants are not arguing that, should this case
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       survive the Motion to Dismiss, that is the only discovery to which Plaintiff is entitled.
  11
       Rather, Defendants make this argument to emphasize the enormous breadth of
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       Plaintiff’s requests at a time when the scope of the litigation itself remains very much
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       unsettled. Defendants should not be subjected to this type of broad discovery
  14
       regarding nearly all aspects of their business before the Court decides whether
  15
       Defendants are immune from litigation. See Ben Ezra, Weinstein & Co. v. America
  16
       Online, Inc., 1998 WL 896459, at *2–3 (D.N.M. July 16, 1998) (limiting discovery
  17
       pending Section 230 immunity claims and stating that Congress intended for Section
  18
       230 to protect defendant websites from “the burdens of broad reaching discovery.”).
  19
       It is Defendants who will be harmed if this discovery moves forward before the
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       Motion to Dismiss is decided.
  21
             The bulk of Plaintiff’s argument opposing a stay focuses on the alleged
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       “enormous prejudice” to her. Opp. at 22. This response is misguided for several
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       reasons. First, Plaintiff has identified no authority demonstrating that any purported
  24
       prejudice to Plaintiff is relevant to the Court’s analysis regarding whether to grant a
  25
       partial stay of discovery. In fact, the case cited by Plaintiff, Novelposter v. Javitch
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       Canfield Grp., Opp. at 23, makes clear that any purported prejudice to the non-moving
  27
       party is not determinative and that the relevant question is, rather, whether the moving
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   1 party has shown “good cause” for a stay of discovery. No. 13-CV-05186-WHO, 2014
   2 WL 12618174, at *1 (N.D. Cal. May 23, 2014). Plaintiff’s reliance on Novelposter
   3 is also misguided given that in that case, the court focused on the fact that the plaintiff,
   4 rather than the defendant, was the party seeking the stay. “[I]t is the movants who
   5 brought this lawsuit, so they cannot now complain about the burdens of moving
   6 forward with its resolution.” Id.
   7         Second, even if purported prejudice to Plaintiff were relevant, Plaintiff’s
   8 conclusory statements regarding prejudice to a proposed class that does not exist yet
   9 should not be deemed sufficient. While both this motion and the Motion to Dismiss
  10 were pending, (i) the parties engaged in multiple meet and confer sessions on
  11 discovery, including a Rule 26(f) conference; (ii) the parties prepared and filed their
  12 Rule 26(f) report with a jointly proposed scheduled that would only need to be
  13 extended by the length of the stay; (iii) Defendants responded to all of plaintiff’s
  14 discovery requests, including offering to meet and confer on appropriate search terms;
  15 and (iv) Defendants agreed to work with Plaintiff on a confidentiality order and ESI
  16 protocol during the stay. Plaintiff has no grounds on which to base her alleged
  17 prejudice because Defendants have fully engaged in discovery to date. By this
  18 motion, Defendants request only that no additional discovery proceed until after the
  19 ruling on the Motion to Dismiss, including one of the most expensive and labor-
  20 intensive aspects of discovery, document production.
  21         Third, Plaintiff argues that if Defendants had concerns about the scope of any
  22 of the discovery requests, that “MindGeek should raise those directly with Jane Doe’s
  23 counsel—which MindGeek has not done.” Opp. 22. This is false. In their responses
  24 to Plaintiff’s document requests, for example, Defendants asserted numerous
  25 objections detailing how the requests go well-beyond the reasonable subject matter of
  26 Plaintiff’s claims and offered to meet and confer with Plaintiff on search terms and
  27 other ways to appropriately limit the discovery. Defendants have not received any
  28 response to these objections yet. Nor do Defendants believe that the parties will be

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   1 able to meaningfully reach agreement on the scope of discovery until after the scope
   2 of Plaintiff’s claims are ruled on.     Yet another reason why staying remaining
   3 discovery is appropriate.
   4       Fourth, and finally, Plaintiff alleges that public reports of proposed corporate
   5 transactions by Defendants, Opp. at 23, somehow prejudices Plaintiff. But
   6 Defendants’ corporate activities can hardly be shrouded in darkness as Plaintiff
   7 suggests when she is citing to public resources as her base of knowledge. Opp. at 23,
   8 n.6. Plaintiffs offer no support for their allegation that any proposed corporate
   9 transactions are untoward. This is nothing more than an attempt to suggest
  10 wrongdoing to deflect from the fact that Defendants have amply demonstrated good
  11 cause for a partial stay of discovery until the Court rules on their Motion to Dismiss.
  12
     III. CONCLUSION
  13
           For the foregoing reasons, the Court should order a partial stay of discovery
  14
     pending the resolution of Defendants’ Motion to Dismiss.
  15
  16 DATED: AUGUST 30, 2021             RESPECTFULLY SUBMITTED,
  17                                      /s/ Benjamin Sadun
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